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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                        Norfolk Division



JEFFREY TARRATS,

               Petitioner,

               v.                                      CRIMINAL ACTION NO.             2:04crl6(7)

UNITED STATES OF AMERICA,

               Respondent.



                                   MEMORANDUM ORDER



       Before the Court is Petitioner's Motion for Relief pursuant to Rule 36 of the Federal Rules

of Civil Procedure. Petitioner requests that the Court correct a clerical error in the Court's

Judgment and Commitment Order filed on October 15, 2004. Petitioner contends that at the time

of sentencing, this Court stated that it would have imposed an alternative sentence of one hundred

twenty (120) months imprisonment if the Court were not bound to follow the United States

Sentencing Guidelines ("Guidelines"). However, the Court ultimately sentenced Petitioner to

imprisonment for a period of two hundred sixty-two (262) months in accordance with the relevant

Guidelines mandates. Petitioner argues that in light of the Supreme Court's subsequent ruling in

United Slates v. Booker, 543 U.S. 220, 125 S.Ct. 738, 160 L.Ed.2d 621 (2005), his Judgment

should be amended to impose the non-Guidelines alternative sentence.

       In United States v. Hammoud, 381 F.3d 316, 353-54 (4th Cir. 2004), the United States

Court of Appeals for the Fourth Circuit recommended that, during sentencing, district courts

announce an alternative sentence determined pursuant to 18 U.S.C. § 3553(a) and treating the

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Guidelines as advisory only. This Court followed this recommendation and announced an

alternative sentence based on the sentencing factors enunciated in 18 U.S.C. § 3553(a). However,

"[n]othing in Hammoud gave district courts authority to do anything more than announce

alternative sentences. The alternative sentence plays its role when resentencing is required by

Booker. Booker, in turn, applies retroactively only to cases that were pending on direct review

when it was decided." United States v. Nguyen, 211 F. App'x 191, 193 (4th Cir. 2006).

       The Court finds that Petitioner has not raised any meritorious ground to amend the Court's

Judgment. There is no clerical error in the Judgment. This Court was not obligated to include

language in the Judgment that would activate an alternative sentence once the Court was no longer

bound to impose a sentence within the Guidelines range. Petitioner waived his right to appeal any

sentence within the statutory maximum; thus, his case was not pending on direct review when

Booker was decided and Booker does not provide a jurisdictional vehicle to activate the alternative

sentence announced under Hammoud. Accordingly, Petitioner's Rule 36 Motion is DENIED.

       The Clerk is DIRECTED to mail a copy of this Order to Petitioner and to the United States

Attorney.

       IT IS SO ORDERED.




                                                             Raymond A. Jackson
Norfolk, Virginia                                            United alales District Judge
December^, 2013
